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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION



UNITED STATES OF AMERICA,



V.                                                   CRIMINAL CASE NO. 3:16-CR-00029-002



LAILA ALAYAT,
                              Defendant.



              REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE


        This matter is before the Court pursuant to Title 28 U.S.C. § 636(b)(1)(B) and (b)(3) upon

the Defendant's request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and a written plea

agreement that has been entered into by the United States and the Defendant. The matter was

presented to the Court upon the written consent of the Defendant and counsel for the Defendant to

proceed before a United States Magistrate Judge, said consent including the Defendant's

understanding that he consented not only to having the Magistrate Judge conduct the hearing, but

also to having the Magistrate Judge make necessary findings and accept any guilty plea as may be

entered that could not be withdrawn except for a fair and just reason.

             The Defendant pled guilty to Counts ONE (1) and TWO (2) of the Indictment in open

court and pursuant to a Rule 11 inquiry. Upon consideration of the responses and statements

made by the Defendant under oath, on the record, and based upon the written plea agreement and

statement of facts presented, the Court makes the following findings:

        1.        That the Defendant is competent to enter a plea of guilty;

        2.        That the Defendant understands the nature of the charge against him to which his

                  plea is offered;
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   3.   That the Defendant understands what the maximum possible penalties are upon

        conviction of the offense charged, including any mandatory minimum periods of

        confinement, the effect of any required term of supervised release, the loss of

        various civil rights (if applicable, including the right to vote, the right to hold public

         office, the right to own and possess a firearm), the possibility of adverse

         immigration consequences (if applicable), the required imposition of a special

         assessment, forfeiture of real and/or personal property (if applicable), and

         restitution (if applicable);

   4.    That the sentencing court has jurisdiction and authority to impose any sentence

         within the statutory maximums provided; will determine the defendant's actual

         sentence in accordance with 18 U.S.C. § 3553(a); and, after considering the factors

         set forth in 18 U.S.C. § 3553(a), may impose a sentence above or below the

         advisory sentencing range, subject only to review by higher courts for

         reasonableness;

   5.    That the Defendant understands his right to persist in a plea of not guilty and

         require that the matter proceed to trial with all the rights and privileges attending a

         trial, including, but not limited to: the right to effective assistance of counsel; the

         right to use the power and processes of the Court to compel evidence on the

         Defendant's behalf; the right to confront and cross-examine adverse witnesses; the

         right to present relevant evidence; the right to remain silent; and, the right to trial by

         jury;

   6.    That the Defendant understands that he is waiving any right to appeal whatever

         sentence is imposed by pleading guilty, even if the sentence is erroneous, as long as

         said sentence does not exceed the total statutory penalties provided;
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        7.     That the Defendant understands all provisions ofthe written plea agreement which

               was reviewed in essential part with the Defendant during the proceeding;

        8.     That the plea of guilty entered by the Defendant was knowingly and voluntarily

               entered and is not the result of force or intimidation of any kind; nor is it the result

               of any promises other than the representations set forth in the plea agreement; and

        9.     That the plea of guilty entered by the Defendant was knowingly and voluntarily

               made with full knowledge of the consequences and with an independent basis in

               fact to support said plea).

        Accordingly, the Court accepted the Defendant's plea of guilty to Counts ONE (1) and

TWO (2) ofthe Indictment and entered judgment of guilt on the subj ect charge. It is therefore the

recommendation ofthe Court that its findings, including the acceptance of the Defendant's plea of

guilty and resulting judgment of guilt, be adopted.




                                                              M           I
                                               Roderick C. Young
                                               United States Magistrate Judge

Richmond, Virginia
Date:   June 16,2016
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NOTICE


       The Defendant is advised that he/she may file specific written objection to this report

and recommendation with the Court within fourteen (14) days of this date. If objection is

noted, the party objecting must promptly arrange for the transcription of the relevant

record and file it forthwith with the Court for its use in any review. Failure to object in

accordance with this notice, including the requirement for preparation of a transcription of

the relevant portions of the record, will constitute a waiver of any right to de novo review of

the matter and may result in adoption of the recommendation, including the finding of guilt

as entered by the magistrate judge.
